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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 DANIEL EDWARD CALLAHAN,

        Plaintiff,
                                                           Hon. Phillip J. Green
 v.
                                                           Case No. 1:16-cv-00208-PJG
 MUSKEGON COUNTY,

      Defendant.
 _________________________________/

                                              ORDER

        Plaintiff brought this action under 42 U.S.C. § 1983, alleging various violations of his

constitutional rights. (Complaint, ECF No. 1). Plaintiff paid the filing fee. This matter is before

the Court on plaintiff’s motion “To Proceed in Forma Pauperis.” (ECF No. 17). The motion is

actually one asking the Court to appoint counsel on the basis of plaintiff’s indigence. (Id.,

PageID.195). Plaintiff has provided an unsworn statement regarding his income, expenses and

debts. (Id., PageID.196-97). The Court assumes, without deciding, indigence for purposes of

this Order.

        Indigent parties in civil cases have no constitutional right to a court-appointed attorney.

Abdur-Rahman v. Mich. Dep’t of Corr., 65 F.3d 489, 492 (6th Cir. 1995); Lavado v. Keohane,

992 F.2d 601, 604-05 (6th Cir. 1993). The Court may, however, request an attorney to serve as

counsel, in the Court’s discretion. Abdur- Rahman, 65 F.3d at 492; Lavado, 992 F.2d at 604-05;

see Mallard v. U.S. Dist. Court, 490 U.S. 296 (1989).

        Appointment of counsel is a privilege that is justified only in exceptional circumstances.

In determining whether to exercise its discretion, the Court should consider the complexity of the
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issues, the procedural posture of the case, and plaintiff’s apparent ability to prosecute the action

without the assistance of counsel. See Lavado, 992 F.2d at 606.

       The Court has carefully considered these factors and determines that, at this stage of the

case, the assistance of counsel does not appear necessary to the proper presentation of plaintiff’s

position. Accordingly, plaintiff’s request for appointment of counsel is DENIED.

       IT IS SO ORDERED.



Date: June 24, 2016                                     /s/ Phillip J. Green
                                                       PHILLIP J. GREEN
                                                       United States Magistrate Judge




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